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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
HAYES WHITE,                                     )
                                                 )
                       Plaintiff,                ) Case No.
                                                 )
               v.                                )
                                                 ) Judge
WAL-MART STORES, INC. d/b/a Walmart;             )
MONTERREY SECURITY CONSULTANTS,                  )
INC.; ADRIAN SANTOS, Individually and as an )      Magistrate
Employee/Agent of Monterrey Security             )
Consultants, Inc.; CRYSTAL ARMSTEAD,             )
Individually and as an Employee/Agent of Wal-mart)
Stores, Inc.; CHICAGO POLICE OFFICER JOHN )
P. CROTTY, STAR #16058; CHICAGO POLICE )
OFFICER SCOTT CARTER, STAR #7429;                )
CHICAGO POLICE OFFICER CHRISTOPH                 )
GREEN, STAR #13996; CHICAGO POLICE               )
OFFICER BURDETT GRIFFIN, STAR #19118; )
CHICAGO POLICE OFFICER BRUCE ASKEW, )
STAR #9015; CHICAGO POLICE OFFICER               )
DANIEL DAHILL, STAR #19227, Individually         )
and as Employees/Agents of the City of Chicago; )
and THE CITY OF CHICAGO, a Municipal             )
Corporation,                                     )
                                                 )
                       Defendants.               )

                               COMPLAINT AT LAW

      NOW COMES the PLAINTIFF, HAYES WHITE, by his attorneys, THE LAW OFFICES

OF JEFFREY J. NESLUND, and complaining of the DEFENDANTS, WAL-MART STORES,

INC., d/b/a Walmart; MONTERREY SECURITY CONSULTANTS, INC.; ADRIAN SANTOS,

Individually and as an Employee/Agent of Monterrey Security Consultants, Inc.; CRYSTAL

ARMSTEAD, Individually and as an Employee/Agent of WAL-MART STORES, INC.;

CHICAGO POLICE OFFICER JOHN P. CROTTY, STAR #16058; CHICAGO POLICE



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OFFICER SCOTT CARTER, STAR #7429; CHICAGO POLICE OFFICER CHRISTOPH

GREEN, STAR #13996; CHICAGO POLICE OFFICER BURDETT GRIFFIN, STAR #19118;

CHICAGO POLICE OFFICER BRUCE ASKEW, STAR #9015; CHICAGO POLICE OFFICER

DANIEL DAHILL, STAR #19227, individually and as employees/agents of the City of Chicago;

and THE CITY OF CHICAGO, a Municipal Corporation, and pleading in the alternative, states as

follows:

                                         INTRODUCTION

        1.      This is an action for civil damages brought under Illinois State law and 42 U.S.C. Sec.

1983 for the deprivation of PLAINTIFF’s constitutional rights. This Court has jurisdiction pursuant

to 28 U.S.C. Sec. 1331, 1343 and 1367.

        2.      PLAINTIFF, HAYES WHITE, is an individual who at all times relevant hereto

was living in the Northern District of Illinois.

        3.      On and prior to December 6, 2016 and all times relevant herein, DEFENDANT,

WAL-MART STORES, INC. was a Delaware corporation doing business within the Northern

District of Illinois as WALMART, a retail store located at 10900 S. Doty Avenue, Chicago, Cook

County, Illinois.

        4.      On and prior to December 6, 2016 and all times relevant herein, DEFENDANT,

MONTERREY SECURITY CONSULTANTS, INC., was a corporation licensed and organized

under the laws of the State of Illinois and doing business within the Northern District of Illinois.

        5.      On December 6, 2016 and all times relevant herein, DEFENDANT ADRIAN

SANTOS, was an employee/agent of MONTERREY SECURITY CONSULTANTS, INC. working

at the WALMART store located at 10900 S. Doty Avenue, Chicago, Cook County, Illinois.



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        6.     On December 6, 2016 and all times relevant herein, DEFENDANT CRYSTAL

ARMSTEAD, was an employee/agent of WAL-MART STORES, INC., working at the

WALMART retail store located at 10900 S. Doty Avenue, Chicago, Cook County, Illinois.

        7.     On December 6, 2016, and at all times relevant herein, the DEFENDANTS,

CHICAGO POLICE OFFICER JOHN P. CROTTY, STAR #16058; CHICAGO POLICE

OFFICER SCOTT CARTER, STAR #7429; CHICAGO POLICE OFFICER CHRISTOPH

GREEN, STAR #13996; CHICAGO POLICE OFFICER BURDETT GRIFFIN, STAR #19118;

CHICAGO POLICE OFFICER BRUCE ASKEW, STAR #9015; and CHICAGO POLICE

OFFICER DANIEL DAHILL, STAR #19227 were employed by the City of Chicago and were

acting under color of law as Chicago police officers.

        8.     On and prior to December 6, 2016, and at all relevant times herein, DEFENDANT,

CITY OF CHICAGO, was a municipal corporation, organized under the laws of the State of

Illinois.

                                  COMMON ALLEGATIONS

        9.     On December 6, 2016, PLAINTIFF, HAYES WHITE, was present as a patron at

the WALMART store located at 10900 S. Doty Avenue, Chicago, Cook County, Illinois.

        10.    On December 6, 2016, WAL-MART STORES, INC., by and through their duly

authorized agents, servants, and employees, including DEFENDANTS CRYSTAL ARMSTEAD

and ADRIAN SANTOS, owned, operated, managed and controlled the premises located at, 10900

S. Doty Avenue, Chicago, Cook County, Illinois.




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       11.     On said date and location, DEFENDANT ADRIAN SANTOS, assaulted and

battered PLAINTIFF HAYES WHITE, resulting in severe and permanent injuries, including

fractures to his right hip, femur and pelvis.

       12.     On said date and location, DEFENDANT OFFICERS CROTTY and CARTER

assisted DEFENDANT SANTOS and detained the PLAINTIFF who was severely injured, could

not walk and was in obvious need of medication attention.

       13.     While PLAINTIFF was detained at WALMART by DEFENDANTS SANTOS,

ARMSTEAD, OFFICER CROTTY and OFFICER CARTER, additional DEFENDANT

OFFICERS GREEN, GRIFFIN, DAHILL and ASKEW arrived.

       14.     In an effort to conceal the assault and battery of the PLAINTIFF by DEFENDANT

SANTOS, the DEFENDANT OFFICERS conspired with DEFENDANTS SANTOS and

ARMSTEAD to falsely charge the PLAINTIFF with retail theft and write false and/or misleading

reports, omitting any mention of PLAINTIFF’s injuries.

       15.     None of the individual DEFENDANT OFFICERS or DEFENDANTS

ARMSTEAD or SANTOS provided any medical attention to the PLAINTIFF despite the fact that

PLAINTIFF was in obvious pain and could not stand or walk.

       16.     DEFENDANTS OFFICER CROTTY and OFFICER CARTER prepared criminal

complaints, signed by DEFENDANT ARMSTEAD, as employee/agent of WALMART, initiating

the criminal prosecution of the PLAINTIFF for retail theft.

       17.     PLAINTIFF was transported from the WALMART store to the 5th District police

station by DEFENDANT OFFICERS DAHILL and ASKEW.                 During the transport of the




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PLAINTIFF, he was in obvious pain and in need of medical attention which was refused by the

DEFENDANT OFFICERS.

          18.   Once the PLAINTIFF arrived at the 5th District police station, he was handcuffed to

a ring on a wall in a room at the 5th District. The PLAINTIFF repeatedly requested medical

attention for his injuries.

          19.   None of the DEFENDANT OFFICERS provided any medical assistance to the

PLAINTIFF. The DEFENDANT OFFICERS told the PLAINTIFF that their shift was almost

over and if they took the PLAINTIFF to the hospital, he would be charged with additional criminal

acts, including assaulting a police officer.

          20.   The PLAINTIFF was subsequently diagnosed with multiple fractures to his right

hip, femur and pelvis and underwent multiple surgeries for his injuries.

          21.   On or about December 20, 2016, all the criminal charges initiated by the

DEFENDANT OFFICERS and DEFENDANT ARMSTEAD were dismissed by the Cook County

State’s Attorneys’ Office.

                                            COUNT I
                        42 U.S.C. § 1983: False Arrest/Unlawful Detention
                                        (Defendant Officers)

          22.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          23.   As described above, DEFENDANT OFFICES falsely arrested and unlawfully

detained PLAINTIFF without justification and without probable cause.

          24.   The misconduct described in this Count was undertaken with malice, willfulness,

 and reckless indifference to the rights of others, and specifically, the rights of the PLAINTIFF.



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          25.   As a result of the above-described wrongful infringement of PLAINTIFF’S rights,

PLAINTIFF suffered damages, including but not limited to prolonged physical incarceration and

severe mental distress and anguish.

                                        COUNT II
                          Failure To Provide Medical Attention
  (Defendants Chicago Police Officers John P. Crotty, Star #16058; Scott Carter, Star #7429;
  Christoph Green, Star #13996; Burdett Griffin, Star #19118; Bruce Askew, Star #9015; and
                                Daniel Dahill, Star #19227)

          26.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          27.   After PLAINTIFF was tackled and struck by DEFENDANT ADRIAN SANTOS,

the DEFENDANT OFFICERS knew the PLAINTIFF had a serious medical condition and was in

need of medical assistance.

          28.   The DEFENDANT OFFICERS were deliberately indifferent to the PLAINTIFF’s

serious medical needs and failed to provide him with medical assistance.

          29.   The DEFENDANT OFFICERS’ deliberate indifference caused physical harm and

suffering to the PLAINTIFF, including unnecessary physical pain and suffering.

          30.   The misconduct described in this Count was undertaken by the DEFENDANT

OFFICERS under the color of law and within the scope of their employment such that their employer,

the City of Chicago, is liable for their actions.

                                        COUNT III
                                    Conspiracy Claims
  (Defendants Chicago Police Officers Crotty, Star #15068; Officer Scott Carter, Star #7429;
                           Adrian Santos and Crystal Armstead)

          31.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.


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          32.   As described more fully above, the DEFENDANT OFFICERS conspired with each

other and DEFENDANTS SANTOS and ARMSTEAD to cover up the assault and battery by

DEFENDANT SANTOS and took overt acts by filing false criminal complaints and/or incomplete

reports, omitting any reference to PLAINTIFF’s injuries.

          33.   The DEFENDANT OFFICERS also acted in concert with each other to

intentionally deprive PLAINTIFF of his constitutional rights under color of law.

          34.   The misconduct described in this Count was undertaken intentionally, with malice,

willfulness, wantonness and reckless indifference to the rights of the PLAINTIFF.

          35.   The misconduct described in this Count was undertaken by DEFENDANT ADRIAN

SANTOS within the scope of his employment as an employee and/or agent of MONTERREY

SECURITY CONSULTANTS, INC., such that DEFENDANT MONTERREY SECURITY

CONSULTANTS, INC. is liable for his actions under the doctrine of respondeat superior.

          36.   The misconduct described in this Count was undertaken by DEFENDANT

CRYSTAL ARMSTEAD within the scope of her employment as an employee and/or agent of

WAL-MART STORES, INC. d/b/a WALMART, such that the DEFENDANT WAL-MART

STORES, INC. d/b/a WALMART is liable for her actions under the doctrine of respondeat

superior.

                                        COUNT IV
                                       NEGLIGENCE
                        (Defendant Wal-Mart Stores, Inc., d/b/a Walmart)

          37.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          38.   That DEFENDANT, WAL-MART STORES, INC. d/b/a WALMART, through its



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agents and employees at all times had a duty to exercise due care and caution to avoid causing

injury to the patrons of its store, including PLAINTIFF.

       39.     That notwithstanding its duty, at the aforesaid time and place, the DEFENDANT,

WAL-MART STORES, INC. d/b/a WALMART, through its actual or apparent agents/employees,

was then and there guilty of one or more of the following careless and negligent acts and/or

omissions:

               a.)     failed to hire a sufficient number of personnel who were qualified to
                       protect, handle, control, detain and/or make safe, its premises, for its
                       patrons, including the PLAINTIFF;

               b.)     failed to properly train its employees/agents to handle, control, detain
                       and/or make safe its premises, for its patrons, including the PLAINTIFF;

               c.)     failed to supervise its employees/agents to protect, handle, control, detain
                       and/or make safe, its premises, for its patrons, including the PLAINTIFF;

               d.)     failed to establish any policies or protocols to ensure that patrons injured on
                       their premises receive medical attention;

               e.)     Was otherwise careless and negligent in the maintenance, control and/or
                       handling of its premises.

       40.     That as a direct and proximate result of the aforesaid acts and/or omissions of the

DEFENDANT, WAL-MART STORES, INC. d/b/a WALMART, the PLAINTIFF then and there

sustained severe and permanent disabling injuries, by reason of which he incurred medical and

hospital expenses, was prevented from attending to his usual affairs and duties, lost great gains

which he otherwise would have made and acquired, and suffered great pain and anguish both in

mind and body.

                                         COUNT V
                                      NEGLIGENCE
                        (Defendant Monterrey Security Consultants, Inc.)



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          41.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          42.   That DEFENDANT, MONTERREY SECURITY CONSULTANTS, INC.,

through its agents and employees at all times had a duty to exercise due care and caution to avoid

causing injury to the patrons of the WAL-MART STORES, INC., including the PLAINTIFF.

          43.   That notwithstanding its duty, at the aforesaid time and place, the DEFENDANT,

MONTERREY SECURITY CONSULTANTS, INC., through its actual or apparent

agents/employees, was then and there guilty of one or more of the following careless and negligent

acts and/or omissions:

                a.)      negligently hired personnel, including DEFENDANT SANTOS, who was
                         not qualified to be a security guard;

                b.)      failed to property train its personnel, including DEFENDANT SANTOS, to
                         properly pursue and detain patrons, to avoid injury, including the
                         PLAINTIFF;

                c.)      failed to supervise its personnel, including DEFENDANT SANTOS, to
                         ensure they were qualified to protect, handle, control, and/or detain patrons,
                         including the PLAINTIFF

                d.)      Failed to properly instruct and/or train employees/agents, including
                         DEFENDANT SANTOS, to ensure injured patrons receive medical care;

                e.)      Was otherwise careless and negligent in the hiring and/or training of its
                         employees/agents, including DEFENDANT SANTOS.

          44.   That as a direct and proximate result of the aforesaid acts and/or omissions of the

DEFENDANT, MONTERREY SECURITY CONSULTANTS, INC., the PLAINTIFF then and

there sustained severe and permanent disabling injuries, by reason of which he incurred medical

and hospital expenses, was prevented from attending to his usual affairs and duties, lost great gains




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which he otherwise would have made and acquired, and suffered great pain and anguish both in

mind and body.

                                          COUNT VI
                                        NEGLIGENCE
                                   (Defendants Adrian Santos)

          45.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          46.   That DEFENDANT, ADRIAN SANTOS, at all times had a duty to exercise due

care to avoid causing injury to the PLAINTIFF.

          47.   That notwithstanding its duty, at the aforesaid time and place, the DEFENDANT,

ADRIAN SANTOS, individually, and as employee/agent of DEFENDANT MONTERREY

SECURITY CONSULTANTS, INC. and apparent agent of DEFENDANT WALMART was then

and there guilty of one or more of the following careless and negligent acts and/or omissions:

                a.)    failed to properly detain the PLAINTIFF, resulting in severe injuries;

                b.)    failed to properly handle, control, and/or restrain the PLAINTIFF, resulting
                       in severe injuries;

                c.)    failed to provide the PLAINTIFF with any medical attention after severely
                       injuring PLAINTIFF on WALMART’s premises;

                d.)    Was otherwise careless and negligent in the chase, detention and handling
                       of the PLAINTIFF.

          48.   The misconduct of this Count was undertaken by DEFENDANT SANTOS in his

capacity as an employee/agent of DEFENDANT MONTERREY SECURITY CONSULTANTS,

INC. and/or apparent agent of DEFENDANT WAL-MART STORES, INC. d/b/a WALMART,

such that DEFENDANTS MONTERREY SECURITY CONSULTANTS, INC. and/or

WALMART are responsible for his conduct under the doctrine of respondeat superior.


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          49.   That as a direct and proximate result of the aforesaid acts and/or omissions of the

DEFENDANT, ADRIAN SANTOS, the PLAINTIFF then and there sustained severe and

permanent disabling injuries, by reason of which he incurred medical and hospital expenses, was

prevented from attending to his usual affairs and duties, lost great gains which he otherwise would

have made and acquired, and suffered great pain and anguish both in mind and body.

                                          COUNT VII
                                   ASSAULT and BATTERY
                                    (Defendant Adrian Santos)

          50.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          51.   That on or about December 6, 2016, the DEFENDANT ADRIAN SANTOS,

without any provocation and with intent to do bodily harm to the PLAINTIFF, HAYES WHITE,

did severely harm, assault and batter the PLAINTIFF by tackling him and striking him while on

the premises of the WALMART located at 10900 S. Doty Avenue, Chicago, Cook County,

Illinois.

          52.   That the aforesaid assault was willful and wanton and maliciously made by

DEFENDANT, ADRIAN SANTOS.

          53.   The misconduct of this Count was undertaken by DEFENDANT SANTOS in his

capacity as an employee/agent of DEFENDANT MONTERREY SECURITY CONSULTANTS,

INC. and/or apparent agent of DEFENDANT WAL-MART STORES, INC. d/b/a WALMART,

such that DEFENDANTS MONTERREY SECURITY CONSULTANTS, INC. and/or

WALMART are responsible for his conduct under the doctrine of respondeat superior.




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          54.   That as a direct and proximate result of these actions of the DEFENDANT

ADRIAN SANTOS, the PLAINTIFF sought medical care and treatment for his injuries and

suffered other injuries of a personal and pecuniary nature.

                                      COUNT VIII
                             MALICIOUS PROSECUTION
      (Defendant Crystal Armstead and Chicago Police Officers Crotty & Officer Carter)

          55.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          56.   PLAINTIFF was improperly subjected to judicial proceedings for which there was no

probable cause. These judicial proceedings were instituted and continued maliciously, resulting in

injury, and all such proceedings were terminated in PLAINTIFF’s favor in a manner indicative of

innocence.

          57.   DEFENDANTS ARMSTEAD, OFFICER CROTTY and OFFICER CARTER

accused PLAINTIFF of criminal activity knowing those accusations to be without probable cause,

and they made written and other statements with the intent of exerting influence to institute and

continue judicial proceedings.

          58.   Statements and official reports of DEFENDANTS ARMSTEAD, OFFICER

CROTTY and OFFICER CARTER regarding PLAINTIFF’s alleged culpability were made with

knowledge that the statements were false, incomplete and/or perjured.

          59.   The misconduct described in this Count was undertaken with malice, willfulness,

reckless indifference to the rights of the PLAINTIFF.

          60.   As a result of the above-described wrongful infringement of PLAINTIFF’s rights,

he has suffered financial and other damages, including but not limited to substantial physical and



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mental stress and anguish.

          61.   The misconduct described in this Count was undertaken by DEFENDANT

ARMSTEAD within the scope of her employment such that her employer, WAL-MART

STORES, INC. d/b/a WALMART, is liable for her actions under the doctrine of respondeat

superior.

          62.   The misconduct described in this Count was undertaken by DEFENDANT

OFFICERS CROTTY and CARTER within the scope of their employment such that their

employer, CITY OF CHICAGO, is liable for their actions under the doctrine of respondeat

superior.

                                        COUNT IX
               INTENTIONAL INFLICTION OF EMOTION DISTRESS
  (Defendants Adrian Santos, Crystal Armstead, Chicago Police Officers John P. Crotty, Star
#16058; Scott Carter, Star #7429; Christoph Green, Star #13996; Burdett Griffin, Star #19118;
                 Bruce Askew, Star #9015; and Daniel Dahill, Star #19227)

          63.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          64.   The acts and conduct of DEFENDANTS, ADRIAN SANTOS, CRYSTAL

ARMSTEAD and individual DEFENDANT OFFICERS, as set forth above were extreme and

outrageous.

          65.   DEFENDANTS, ADRIAN SANTOS, CRYSTAL ARMSTEAD and individual

DEFENDANT OFFICERS, intended to cause, or were in reckless disregard of the probability that

their conduct would cause, severe emotional distress to PLAINTIFF, HAYES WHITE.

          66.   DEFENDANTS ADRIAN SANTOS, CRYSTAL ARMSTEAD and individual

DEFENDANT OFFICERS’, actions and conduct did directly and proximately cause a severe



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emotional distress to the PLAINTIFF, and thereby constituted intentional infliction of emotional

distress upon the PLAINTIFF.

          67.   The misconduct described in this Count was undertaken by DEFENDANT

OFFICERS within the scope of their employment such that their employer, CITY OF CHICAGO,

is liable for their actions under the doctrine of respondeat superior.

          68.   The misconduct described in this Count was undertaken by DEFENDANT ADRIAN

SANTOS within the scope of his employment duties, as employee and/or agent of MONTERREY

SECURITY CONSULTANTS, INC. and apparent agent of WAL-MART STORES, INC. d/b/a

WALMART,, such that DEFENDANT MONTERREY SECURITY CONSULTANTS, INC.

and/or WAL-MART STORES, INC. d/b/a WALMART, is liable for his actions under the doctrine

of respondeat superior.

          69.   The misconduct described in this Count was undertaken by DEFENDANT

CRYSTAL ARMSTEAD within the scope of her employment duties, as employee and/or agent of

WAL-MART STORES, INC. d/b/a WALMART, such that the DEFENDANT WAL-MART

STORES, INC. d/b/a WALMART is liable for her under the doctrine of respondeat superior.

                                          COUNT X
                                 INDEMNIFICATION COUNT
                                   (Defendant City of Chicago)

          70.   PLAINTIFF re-alleges and incorporates paragraphs 1-21 above as fully stated

herein.

          71.   In Illinois, public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities. 735 ILCS

10/9-102.



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       72.     DEFENDANT OFFICERS JOHN               P.   CROTTY,      STAR     #16058;   SCOTT

CARTER, STAR #7429; CHRISTOPH GREEN, STAR #13996; BURDETT GRIFFIN, STAR

#19118; BRUCE ASKEW, STAR #9015; and DANIEL DAHILL, STAR #19227 are or were

employees of the CITY of CHICAGO and acted within the scope of their employment in committing

the misconduct described herein.

                                    REQUEST FOR RELIEF

       73.     PLAINTIFF, HAYES WHITE, respectfully requests that the Court:

               a.      Enter a judgment in her favor and against all DEFENDANTS;

               b.      Award compensatory damages and costs against all DEFENDANTS;

               c.      Award attorney’s fees against all DEFENDANTS;

               d.      Award punitive damages against all individual DEFENDANTS; and

               e.      Grant any other relief this Court deems just and appropriate.


                                        JURY DEMAND

       PLAINTIFF, HAYES WHITE, demands a trial by jury under the Federal Rule of Civil

Procedure 38(b) on all issues so triable.

                                             Respectfully submitted,


                                             /s/ Jeffrey J. Neslund
                                             JEFFREY J. NESLUND
                                             Attorney for Plaintiff



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